       Case 2:12-md-02323-AB Document 9784-2 Filed 03/19/18 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
                                                    MDL No. 2323
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                   Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                      Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                                          ORDER

       AND NOW, on this             day of                       , 2018, having considered

Plaintiff’s Motion of Co-Lead Counsel Anapol Weiss for a Hearing to Seek Court Intervention

on the Processing of Certain Claims, the Memorandum of Law in support thereof, and all

Responses and Replies, IT IS HEREBY ORDERED and DECREED that Plaintiff’s Motion for a

Hearing to Seek Court Intervention on the Processing of Certain Claims is GRANTED.

       IT IS SO ORDERED.
Case 2:12-md-02323-AB Document 9784-2 Filed 03/19/18 Page 2 of 2




                                   BY THE COURT:




                                   The Honorable Anita B. Brody
                                   United States District Judge




                               2
